                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:12-00206
                                             )        JUDGE CAMPBELL
BRANDON M. ELLEDGE                           )


                                            ORDER


         Pending before the Court is a Motion of Defendant Elledge to Review the Detention

Order (Docket No. 61). The Government is directed to file its response by March 8, 2013.

         IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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